            Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 1 of 10



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 7
 8
                          UNITED STATES DISTRICT COURT
 9
10                     NORTHERN DISTRICT OF CALIFORNIA
11
12 HUNDRED ACRE WINE GROUP INC., a Case No. 3:22-cv-07305-JD
     Delaware Corporation
13
14               Plaintiff,                DEFENDANTS VINE VAULT
                                           LLC and ELTON POTTS’S
15
       v.                                  EVIDENTIARY OBJECTIONS
16                                         TO PLAINTIFF’S EVIDENCE
     TWO 4 STU, LLC, a California limited  FILED IN SUPPORT OF ITS
17
     liability company dba LERNER PROJECT; MOTION FOR TEMPORARY
18   STUART JAY LERNER, an individual;     RESTRAINING ORDER AND
     VINE VAULT LLC, a Georgia limited     PRELIMINARY INJUNCTION
19
     liability company; and ELTON POTTSs,  (DOC. NO. 14)
20   an individual,
                                           Date: February 2, 2023
21
                  Defendants.              Time: 10:00 a.m.
22                                         Judge: Hon. James Donato
                                           Dept.: Courtroom 11
23
24
25        Defendants, VINE VAULT LLC (“Vine Vault”) and ELTON POTTS
26 (“Potts”) (collectively, “Defendants”), hereby object to the following evidence
27 submitted by Plaintiff Hundred Acre Wine Group Inc.’s (“Plaintiff” or “Hundred
28 Acre”) in support of its Motion for Temporary Restraining Order and Order to Show

                                             1
           DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                     Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 2 of 10



                                                                           1 Cause Why a Preliminary Injunction Should Not Issue, filed as Document No. 14

                                                                           2 on December 12, 2022 (the “Motion”):

                                                                           3

                                                                           4                                OBJECTION NO. 1
                                                                           5 Material Objected To:

                                                                           6 “Our firm received an excel spreadsheet in electronic format from Matt Simpson

                                                                           7 containing shipping and other customer information that was purportedly entered

                                                                           8 into Two 4 Stu (“Lerner Project’s”) Customer Relations Management System

                                                                           9 (“CRM”) between March 19, 2018 and June 9, 2020 (“Lerner List”). Declaration
                 26565 West Agoura Road, Suite 200, Calabasas, CA 91302




                                                                          10 of Kevin Cardona (“Cardona Dec.”), Doc. No. 14-2, at ¶ 3.

                                                                          11 Basis for Objection:
MARSHALL & ASSOCIATES
                                Telephone: (818) 617-9337




                                                                          12 The referenced documents, spreadsheets and/or information are not attached to the

                                                                          13 Declaration, making the Declaration an incomplete document. All statements and

                                                                          14 allegations based on the purported documents, spreadsheets and/or information

                                                                          15 therefore lack foundation and are speculative.

                                                                          16 Ruling on Objection:      ____ Sustained
                                                                          17                           ____ Overruled
                                                                          18

                                                                          19                                OBJECTION NO. 2
                                                                          20 Material Objected To:

                                                                          21 “the Lerner List contained names of Hundred Acre customers (as described by Mr.

                                                                          22 Simpson in his declaration), I compared it to a list of Hundred Acre’s customer

                                                                          23 information for shipments made through Vine Vault covering the time period of

                                                                          24 September 1, 2019 to March 31, 2022 (“Hundred Acre List”).” Cardona Dec. at ¶ 4

                                                                          25 Basis for Objection:

                                                                          26 The referenced “Lerner List” and “Hundred Acre List” are not attached to the

                                                                          27 Declaration, making the Declaration an incomplete document. All statements and

                                                                          28 allegations based on the purported “Lerner List” and/or “Hundred Acre List”

                                                                                                                      2
                                                                                    DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                     Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 3 of 10



                                                                           1 therefore lack foundation. Further objection on the grounds of hearsay, lack of

                                                                           2 personal knowledge, and best evidence rule.

                                                                           3 Ruling on Objection:      ____ Sustained
                                                                           4                           ____ Overruled
                                                                           5

                                                                           6                                OBJECTION NO. 3
                                                                           7 Material Objected To:

                                                                           8 “I was advised by Alison Williams that shipments were made earlier, but earlier

                                                                           9 data may no longer be available to Hundred Acre.” Cardona Dec. ¶ 6, lines 24-25.
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                                                                          10 Basis for Objection:

                                                                          11 Hearsay. Lack of Foundation. Improper speculation or opinion.
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                                Telephone: (818) 617-9337




                                                                          12 Ruling on Objection:      ____ Sustained
                                                                          13                           ____ Overruled
                                                                          14

                                                                          15                                OBJECTION NO. 4
                                                                          16 Material Objected To:

                                                                          17 “While multiple individuals may share the same combination of first and last name,

                                                                          18 e-mail addresses or phone numbers are more likely to represent unique identifiers.”

                                                                          19 Cardona Dec. ¶ 7, lines 1-3

                                                                          20 Basis for Objection:

                                                                          21 Lack of foundation. Improper lay witness opinion, speculation.

                                                                          22 Ruling on Objection:      ____ Sustained
                                                                          23                           ____ Overruled
                                                                          24

                                                                          25                                OBJECTION NO. 5
                                                                          26 Material Objected To:

                                                                          27 “About 362 unique e-mail addresses are associated with Hundred Acre wine orders

                                                                          28 fulfilled through Vine Vault from October 14, 2019 to June 9, 2020. Of those e-

                                                                                                                      3
                                                                                    DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                      Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 4 of 10



                                                                           1 mail addresses, 166 also appear on the Lerner List; approximately 46%.” Cardona

                                                                           2 Dec. at ¶ 8.

                                                                           3 Basis for Objection:

                                                                           4 Lack of Foundation. Lack of Personal Knowledge. Hearsay. Best Evidence Rule.

                                                                           5 Improper lay witness opinion, speculation.

                                                                           6 Ruling on Objection:       ____ Sustained
                                                                           7                            ____ Overruled
                                                                           8

                                                                           9                                 OBJECTION NO. 6
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                                                                          10 Material Objected To:

                                                                          11 “In reviewing the Lerner List, I observed that many names were added in the time
MARSHALL & ASSOCIATES
                                Telephone: (818) 617-9337




                                                                          12 period of February 3-9, 2020 – 922 to be exact, often as frequently as one per

                                                                          13 minute.” Cardona Dec. ¶ 9.

                                                                          14 Basis for Objection:

                                                                          15 Lack of Foundation. Lack of Personal Knowledge. Hearsay. Best Evidence Rule.

                                                                          16 Improper lay witness opinion, speculation.

                                                                          17 Ruling on Objection:       ____ Sustained
                                                                          18                            ____ Overruled
                                                                          19

                                                                          20                                 OBJECTION NO. 7
                                                                          21 Material Objected To:

                                                                          22 “I retained a list of the new mailing list as evidence of this act which is attached to

                                                                          23 this declaration” Simpson Dec. at ¶ 3.

                                                                          24 Basis for Objection:

                                                                          25 Hearsay. Lack of Foundation. Best Evidence Rule. Improper legal conclusion or

                                                                          26 opinion. The Declaration refers to an attached “list”, yet no list is attached, making

                                                                          27 the document incomplete.

                                                                          28

                                                                                                                       4
                                                                                     DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                        Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 5 of 10



                                                                           1 Ruling on Objection:       ____ Sustained
                                                                           2                            ____ Overruled
                                                                           3

                                                                           4                                OBJECTION NO. 8
                                                                           5 Material Objected To:

                                                                           6 “At the time of Vine Vault and Stuart Lerner’s misuse and misappropriation of

                                                                           7 Hundred Acre’s customer data” Declaration of Jayson Woodbridge (“Woodbridge

                                                                           8 Dec.”), Doc. No. 14-4 at ¶ 6, lines 15-16.

                                                                           9 Basis for Objection:
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                                                                          10 Lack of Foundation. Lack of Personal Knowledge. Improper legal conclusion or

                                                                          11 opinion.
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                                                                          12 Ruling on Objection:       ____ Sustained
                                                                          13                            ____ Overruled
                                                                          14

                                                                          15                                OBJECTION NO. 9
                                                                          16 Material Objected To:

                                                                          17 “Hundred Acre is one of the world’s top collected wines” Woodbridge Dec at ¶ 8,

                                                                          18 line 17.

                                                                          19 Basis for Objection:

                                                                          20 Lack of Foundation.

                                                                          21 Ruling on Objection:       ____ Sustained
                                                                          22                            ____ Overruled
                                                                          23

                                                                          24                                OBJECTION NO. 10
                                                                          25 Material Objected To:

                                                                          26 “Shortly after the NDA was executed, Hundred Acre provided Vine Vault with

                                                                          27 Hundred Acre’s confidential trade secret information only to the extent needed to

                                                                          28 fulfill orders through Vine Vault, i.e. to ship the wine.” Woodbridge Dec at ¶ 11.

                                                                                                                      5
                                                                                    DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                     Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 6 of 10



                                                                           1 Basis for Objection:

                                                                           2 Lack of Foundation. Hearsay. Best Evidence Rule. The declaration fails to lay

                                                                           3 foundation for or establish that the information allegedly provided to Vine Vault

                                                                           4 was confidential trade secret information, that only information to the extent needed

                                                                           5 to fulfill orders was provided, or when exactly such information was provided.

                                                                           6 Further, the declaration refers to but fails to provide evidence of the information

                                                                           7 actually transmitted to Vine Vault.

                                                                           8 Ruling on Objection:       ____ Sustained
                                                                           9                            ____ Overruled
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                                                                          10

                                                                          11                                OBJECTION NO. 11
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                                                                          12 Material Objected To:

                                                                          13 “Hundred Acre submitted customer data to Vine Vault for shipment which included

                                                                          14 identifying information and customer preferences, among others: first and last

                                                                          15 names of customer, address, company, phone number, name and varietal of wines

                                                                          16 bought, number of bottles bought, price and weight of order (“Hundred Acre

                                                                          17 Customer Data”).” Woodbridge Dec at ¶ 12, lines 8-11.

                                                                          18 Basis for Objection:

                                                                          19 Lack of Foundation. Hearsay. Best Evidence Rule. The declaration refers to but

                                                                          20 fails to provide evidence of the content and timing of the information actually

                                                                          21 transmitted to Vine Vault.

                                                                          22 Ruling on Objection:       ____ Sustained
                                                                          23                            ____ Overruled
                                                                          24

                                                                          25                                OBJECTION NO. 12
                                                                          26 Material Objected To:

                                                                          27 “Through this data Vine Vault could determine which Hundred Acre customers

                                                                          28 purchased the most wine and how much customers were spending on a Hundred

                                                                                                                       6
                                                                                     DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                       Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 7 of 10



                                                                           1 Acre wine on an annual basis. This list could be considered a collection of the

                                                                           2 wealthiest purchasers of Napa Valley wine. Most of Hundred Acre’s customers buy

                                                                           3 every new release of wine, averaging about $600-700 per bottle.” Woodbridge Dec

                                                                           4 at ¶ 13

                                                                           5 Basis for Objection:

                                                                           6 Lack of Foundation. Hearsay. Best Evidence Rule. Improper opinion and

                                                                           7 speculation. The declaration refers to but fails to provide evidence of the

                                                                           8 information actually transmitted to Vine Vault.

                                                                           9 Ruling on Objection:         ____ Sustained
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                                                                          10                              ____ Overruled
                                                                          11
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                                                                          12                                  OBJECTION NO. 13
                                                                          13 Material Objected To:

                                                                          14 “In early 2022, some Hundred Acre customers contacted me directly to tell me they

                                                                          15 received unsolicited emails from Vine Vault and Lerner Project to market the sale

                                                                          16 of Lerner Project wine or inviting them to roadshow tasting events organized by

                                                                          17 Vine Vault where attendees were sold Lerner Project wine.” Woodbridge Dec at ¶

                                                                          18 14.

                                                                          19 Basis for Objection:

                                                                          20 Lack of Foundation. Hearsay. Lack of Personal Knowledge. Improper speculation.

                                                                          21 Ruling on Objection:         ____ Sustained
                                                                          22                              ____ Overruled
                                                                          23

                                                                          24                                  OBJECTION NO. 14
                                                                          25 Material Objected To:

                                                                          26 “Based on the information Matt Simpson communicated to me, which is set forth

                                                                          27 in his declaration, it is my belief that Lerner added the Hundred Acre Customer

                                                                          28 Data that was in the folder he obtained from Potts and Vine Vault to the CRM for

                                                                                                                         7
                                                                                       DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                     Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 8 of 10



                                                                           1 the Lerner Project so that those customers would receive e-mails or letters

                                                                           2 advertising Lerner Project wines. As indicated above, Potts replied admitting to the

                                                                           3 use of the Hundred Acre customer data to market to them regarding the road shows

                                                                           4 and apologized.” Woodbridge Dec at ¶ 18, lines 3-8

                                                                           5

                                                                           6 Basis for Objection:

                                                                           7 Lack of Foundation. Hearsay. Lack of Personal Knowledge. Best Evidence Rule.

                                                                           8 Improper legal conclusion, opinion and speculation. This statement also relies on

                                                                           9 information purportedly communicated to Woodbridge that was purportedly set
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                                                                          10 forth in Matt Simpson’s declaration. However, Matt Simpson’s declaration refers

                                                                          11 and relies on “attached” information that is not in fact attached to his filed
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                                Telephone: (818) 617-9337




                                                                          12 declaration, thereby causing both his declaration and the herein statement to be

                                                                          13 incomplete and lacking foundation.

                                                                          14 Ruling on Objection:       ____ Sustained
                                                                          15                            ____ Overruled
                                                                          16

                                                                          17                                OBJECTION NO. 15
                                                                          18 Material Objected To:

                                                                          19 “The list and data is of great commercial value. A competitor possessing this list

                                                                          20 could increase its sales at our expense. Individuals purchasing wine that costs $700

                                                                          21 a bottle belong to a rarefied group of wine coinsurers [sic]. Companies selling

                                                                          22 anything from luxury goods to investments would pay significant amounts to

                                                                          23 acquire access to the names of individuals with this amount of expendable income.

                                                                          24 Woodbridge Dec at ¶ 19, lines 9-13.

                                                                          25 Basis for Objection:

                                                                          26 Lack of Foundation. Hearsay. Lack of Personal Knowledge. Best Evidence Rule.

                                                                          27 Improper legal conclusion, lay witness opinion, speculation.

                                                                          28

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                                                                                     DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                    Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 9 of 10



                                                                           1 Ruling on Objection:     ____ Sustained
                                                                           2                          ____ Overruled
                                                                           3

                                                                           4

                                                                           5    Date: January 17, 2023              MARSHALL & ASSOCIATES
                                                                           6
                                                                                                                    /s/ John A. Marshall
                                                                           7                                        JOHN A. MARSHALL
                                                                           8                                        Attorney for Defendants
                                                                                                                    VINE VAULT LLC and ELTON POTTS
                                                                           9
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                                                                                   DEFENDANTS VINE VAULT AND ELTON POTTS’S OBJECTIONS TO PLAINTIFF’S EVIDENCE
                                                                                     Case 3:22-cv-07305-RFL Document 30 Filed 01/17/23 Page 10 of 10



                                                                           1                             CERTIFICATE OF SERVICE
                                                                           2
                                                                                   I HEREBY CERTIFY that on the 17th day of January, 2023, I served the
                                                                           3
                                                                               above DEFENDANTS VINE VAULT LLC and ELTON POTTS’S
                                                                           4   EVIDENTIARY OBJECTIONS TO PLAINTIFF’S EVIDENCE FILED IN
                                                                               SUPPORT OF ITS MOTION FOR TEMPORARY RESTRAINING
                                                                           5   ORDER AND PRELIMINARY INJUNCTION (DOC. NO. 14)
                                                                           6   through CM/ECF system of the United States District Court for the Northern
                                                                               District of California (or, if necessary, by U.S. Mail, first class, postage pre-paid),
                                                                           7   upon the following:
                                                                           8

                                                                           9
                 26565 West Agoura Road, Suite 200, Calabasas, CA 91302




                                                                          10
                                                                                                                      /s/ Kim K. Ranck
                                                                          11
                                                                                                                      An Employee of Marshall & Associates
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                                                                          26

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                                                                                                                         10

                                                                                                                  PROOF OF SERVICE
